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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                            LAFAYETTE DIVISION


UNITED STATES OF AMERICA                       CASE NO. 6:21-CR-00023-01

VERSUS                                         CHIEF JUDGE S. MAURICE HICKS, JR.

CRISTIAN ELI ALVAREZ-ALVAREZ (01)              MAGISTRATE JUDGE PATRICK J.
                                               HANNA



                 REPORT AND RECOMMENDATION ON
  FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE

      Pursuant to Title 28, United States Code, Section 636(b), and with the written

and oral consent of the defendant, this matter has been referred by the District Court

for administration of guilty plea and allocution under Rule 11 of the Federal Rules

of Criminal Procedure.

      This cause came before the undersigned United States Magistrate Judge for a

change of plea hearing and allocution of the defendant, Cristian Eli Alvarez-Alvarez,

on May 4, 2021. The defendant was present with his counsel, Cristie Gibbens. The

government was represented by Assistant United States Attorney John Nickel.

       In this proceeding, the Assistant United States Attorney, defense counsel,

 the interpreter, and the court reporter all appeared by videoconference. The

 defendant was incarcerated at Lafayette Parish Correctional Center and appeared

 by videoconference. The defendant consented to appearing by videoconference,

 and both he and his lawyer explained they had discussed the matter. His image and
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 voice were clear, and the undersigned confirmed he could see and hear the

 undersigned and the lawyers clearly.

       The Court proceeded without the defendant physically present because,

 during the national emergency created by the novel coronavirus, he could not be

 physically present without seriously jeopardizing public health and safety. See

 Proclamation Number 25 JBE 2020 (March 11, 2020); March 16, 2020 Order

 Regarding Court Operations Under the Exigent Circumstances Created by the

 COVID-19 Pandemic (as supplemented most recently on March 24, 2021). The

 Court did not postpone the plea, because the Court found that a delay of the plea

 would cause serious harm to the interests of justice. Namely, any delay in the

 proceedings could result in the defendant serving more time in jail then his

 potential guideline sentence.

      After the hearing, and for the reasons orally assigned, it is the finding of the

undersigned that the defendant is fully competent, that his plea of guilty is knowing

and voluntary, and that his guilty plea to Count 1 is fully supported by a written

factual basis for each of the essential elements of the offense.

      Additionally, the defendant voluntarily waived the fourteen-day objection

period that would otherwise be available under 28 U.S.C. § 636. (Rec. Doc. 31).



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      Therefore, the undersigned United States Magistrate Judge recommends that

the District Court ACCEPT the guilty plea of the defendant, Cristian Eli Alvarez-

Alvarez, in accordance with the terms of the plea agreement filed in the record of

these proceedings, and that Cristian Eli Alvarez-Alvarez be finally adjudged guilty

of the offense charged in Count 1.

      THUS DONE AND SIGNED in chambers, at Lafayette, Louisiana on this 5th

day of May, 2021.



                         ______________________________________
                         PATRICK J. HANNA
                         UNITED STATES MAGISTRATE JUDGE




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